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 6                        IN THE UNITED STATES DISTRICT COURT

 7                             FOR THE DISTRICT OF ARIZONA

 8   Michael Magee,                        )       No. CV-17-02548-PHX-SPL
                                           )
 9                                         )
                    Plaintiff,             )       ORDER
10   vs.                                   )
                                           )
11                                         )
     National Credit Systems Incorporated, )
12   et al.,                               )
                                           )
13                                         )
                    Defendants.            )
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            Having considered the parties’ stipulation,
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            IT IS ORDERED:
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            1. That the Stipulation for Dismissal (Doc. 39) is granted;
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            2. That Defendant Equifax Information Services, LLC is dismissed with
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     prejudice;
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            3. That each party shall bear its own costs and attorneys’ fees; and
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            4. That, Defendant Equifax Information Services LLC being the only remaining
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     defendant in this case, the Clerk of Court shall terminate this action.
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            Dated this 26th day of June, 2018.
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26                                                        Honorable Steven P. Logan
                                                          United States District Judge
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